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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

 ARM LTD.,                                           )
                                                     )
                        Plaintiff,                   )
                                                     )
        v.                                           )      C.A. No. 22-1146 (MN)
                                                     )
 QUALCOMM INC., QUALCOMM                             )
 TECHNOLOGIES, INC. and NUVIA, INC.,                 )
                                                     )
                        Defendants.                  )

     STIPULATION AND [PROPOSED] ORDER REGARDING CASE NARROWING

        WHEREAS, Plaintiff Arm Ltd. (“Plaintiff” or “Arm”) asserted claims for trademark

 infringement and violations of the Lanham Act against Defendants Qualcomm Inc., Qualcomm

 Technologies, Inc., and Nuvia, Inc. (collectively, “Defendants”) (D.I. 1, Counts II and III);

        WHEREAS, Defendants brought counterclaims for breach of the Nuvia ALA and Nuvia

 TLA by Arm (D.I. 300, Counts I.e, I.f, II, and III); and

        WHEREAS, in the interest of streamlining the case for trial and given the limited trial time,

 the parties have narrowed the scope of disputes for this litigation;

        NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by the parties,

 through their undersigned counsel and subject to the approval of the Court, that:

        1.      As stated at the October 30, 2024 hearing, Arm will not pursue its claims for

 trademark infringement and violations of the Lanham Act at trial as set forth in Counts II and III

 of the Complaint (D.I. 1), which are hereby dismissed with prejudice;

        2.      As set forth in Defendants’ letter of November 19, 2024 (D.I. 526), Defendants will

 not pursue their claims for breach of contract of the Nuvia ALA and TLA at trial as set forth in

 Counts I.e, I.f, II, and III of Defendants’ Second Amended Counterclaims, which are hereby

 dismissed with prejudice; and
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        3.      Each party shall bear its own costs and expenses in connection with the claims and

 counterclaims that are the subject of this stipulation, including attorneys’ fees.



 YOUNG CONAWAY STARGATT & TAYLOR, LLP                         MORRIS, NICHOLS, ARSHT & TUNNELL LLP

 /s/ Anne Shea Gaza                                           /s/ Jennifer Ying

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 Attorneys for Plaintiff                                      Attorneys for Defendants

 December 9, 2024


                SO ORDERED this ____ day of _________________, 2024.




                                                    United States District Judge




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